        Case 2:24-cr-00091-ODW             Document 163 Filed 11/05/24               Page 1 of 1 Page ID
                                                   #:2005
 Richard A. Schonfeld, Esq.
 California Bar No. 202182
 Chesnoff & Schonfeld
 520 S. 4th Street
 Las Vegas, Nevada 89101


                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                     CASE NUMBER:

                                                                                2:24-cr-00091-ODW
                                               PLAINTIFF(S)
                              V.
 Alexander Smirnov                                                     NOTICE OF MANUAL FILING
                                                                             OR LODGING
                                            DEFENDANT(S).

PLEASE TAKE NOTICE:
           Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually [Z] Filed       D Lodged: (List Documents)
 CIP A document.




Reason:
[Z]        Under Seal
[Z]        In Camera
D          Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
D          Per Court order dated:
[Z]        Other:
The submission was made on October 29, 2024, with Kevin Reddick from the Clerk's office.




11/5/24                                                         David Z. Chesnoff, Esq.
Date                                                           Attorney Name
                                                                Alexander Smirnov
                                                               Party Represented


Note:      File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/ 15)                              NOTICE OF MANUAL FILING OR LODGING
